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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                        No. 1:18cr158 DAD-BAM
12                       Plaintiff,
13           v.                                        STIPULATION AND ORDER
14    FELIPE ANGELES VALDEZ-COLIMA,
15                       Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendants,

18   by and through their counsel of record, hereby stipulate as follows:

19          1.      This matter was previously set for a status conference before U.S. Magistrate

20                  Judge Barbara A. McAuliffe on October 9, 2018, at 1 p.m.

21          2.      Having reached an agreement, the parties agree to set the matter for a change of

22                  plea before the district court on the same day at 10 a.m.

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     Case 1:18-cr-00158-DAD-BAM Document 31 Filed 09/13/18 Page 2 of 2


 1   IT IS SO STIPULATED.

 2   DATED:         September 12, 2018. Respectfully submitted,

 3                                        McGREGOR W. SCOTT
 4                                        United States Attorney

 5                                        /s/ Karen A. Escobar___________________
                                          KAREN A. ESCOBAR
 6                                        Assistant United States Attorney
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 8   DATED:         September 12, 2018.

 9                                        /s/ Fredric Jon Gagliardini
                                          FREDRIC JON GAGLIARDINI
10                                        Counsel for Felipe Angeles Valdez-Colima
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13                                        ORDER
14          The court has reviewed and considered the stipulation of the parties to set this matter
15   before the district court for a change of plea. Good cause appearing, the status conference as to
16   Felipe Angeles Valdez-Colima currently set for October 9, 2018, before Magistrate Judge
17   Barbara A. McAuliffe is VACATED and a change of plea hearing is set October 10, 2018, at
18   10:00am before District Judge Dale A. Drozd.
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     IT IS SO ORDERED.
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        Dated:     September 13, 2018
21                                                     UNITED STATES DISTRICT JUDGE
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